                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           NO. 3:13-00097
                                                )           JUDGE SHARP
ROBERT ANTHONY TAYLOR [21]                      )


                                           ORDER

       Pursuant to the Notice (Docket No. 613) of Defendant’s intention to enter a plea of guilty

in this matter, a plea hearing is hereby scheduled for Thursday, September 4, 2014, at 2:30 p.m.

       It is so ORDERED.




                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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